Case 2:20-cr-00032-JCC Document 262-2 Filed 01/04/22 Page 1 of 7




          Exhibit 2
1/2/2022              Case 2:20-cr-00032-JCC Document 262-2 Filed 01/04/22 Page 2 of 7


           Subject:    Letter to Judge Coughenour Regarding Kaleb Cole's sentencing.
           From:       "Earl Cole" <earlcole342@yahoo.com>
           Sent:       1/2/2022 3:57:30 PM
           To:         chris@blacklawseattle.com;

       To the Honorable Judge John C. Coughenour
                  My name is Earl Cole and I am Kaleb James Cole's Father. I am writing to you to
       request leniency in the sentencing of Kaleb Cole. Before this, Kaleb has never been in trouble
       with the law whatsoever. Kaleb has always been a productive,hard working,and self sufficient
       young man. He wants to move forward in life in a positive and productive manner. Kaleb has
       plans to work and be a productive member of society again once this is all behind him. He has
       the support of his family who all love him very much. During this time of Covid, Kaleb will have
       been incarcerated for 2 years come February of 2022. He has had time to think and re-
       evaluate his life. I am asking that the court have mercy in the sentencing of Kaleb Cole. I want
       to sincerely thank you for taking the time to read this message.
                  Respectfully, - Earl Cole




                                                                                                          1/1
         Case 2:20-cr-00032-JCC Document 262-2 Filed 01/04/22 Page 3 of 7


November 28, 2021

To The Honorable Court,

Regarding the Sentencing in the Case of Kaleb James Cole

My name is JoAnne Powell, and I am the maternal grandmother of Kaleb James Cole.
He is my only grandson, and we have maintained a close relationship with Kaleb since
he was born. Kaleb spent many of his summers with us as he was growing up. We had
many opportunities to see the kind of young man Kaleb was becoming as he stayed with
us for those extended periods of time. Kaleb has always been caring, respectful, and
trustworthy. As he was getting older, when he was given more freedom and
responsibility- we found him to be very trustworthy. Kaleb has a real respect for the
wisdom that comes with age- something often not seen in young people today. Kaleb
has always been great about calling us regularly. He has maintained a good attitude
throughout the Trial Process- we know this because he calls us a couple times a week,
unless the phones are shut down. We are pleased about his attitude because during this
period of incarceration, because of Covid-19, there have been many times Kaleb's unit
has been on lockdown for extended periods of time. This has been a very long 21
months- we are amazed at his acceptance of the situation, and his maturity in handling
the situation for what it is. Kaleb deserves an opportunity to re-enter society soon.

   Kaleb's grandfather and myself flew up to WA to be present, and supportive of Kaleb
at his trial in September, so we are well aware of the things that were said and done at
his trial. We kept as low profile as possible while there because Kaleb was concerned
that the news media would make things difficult for us. Kaleb truly was concerned for
us, even while he was facing the serious circumstances in his trial- he was thinking
about us- but he also loved that we were willing to be there. His Mom could not attend
because she lives in another Country and the problems with Covid-19 made it
impossible for her to come to the USA.

  If Kaleb's Mom was able to be here, she would tell you that Kaleb has never been a
violent person and has never committed a violent crime. My husband and I, having been
around him all his life can confirm that statement. We have never known Kaleb to be
violent towards anyone, even when provoked. Kaleb, after his release, will definitely
not be threat or danger to society.

  I know that with this conviction, Kaleb will serve some time, but I am pleading with
you to consider letting him be released with time served. He has already been
incarcerated for 21 months, as of this date, and he waited 19 months for his trial. Kaleb
wants to be a working, producing member of society again. He has a serious girlfriend
who has stood by Kaleb through this entire court and incarceration process. Kaleb has
         Case 2:20-cr-00032-JCC Document 262-2 Filed 01/04/22 Page 4 of 7


every reason and desire to strive to be a hardworking, contributing member of society.
He has a family who loves him deeply, a committed relationship with his girlfriend, and
we all believe in his ability to turn his life in a positive direction. He will have the
support and encouragement of his family, and his girlfriend as he begins this new phase
in his life. Kaleb has a strong moral compass, and values family, and the rights we
should have as American Citizens. We, as his grandparents are committed to supporting
Kaleb as he re-enters society, and we are praying that will be very soon.

   If the Court decides to keep Kaleb imprisoned for additional time, my husband and I
would ask that you consider requesting that Kaleb be placed in a Facility in Arizona so
that we can see him whenever possible. My husband and I are getting older and
traveling is especially difficult for my husband who has medical issues (which have kept
him from coming up for Kaleb's sentencing). Kaleb would appreciate this too, and we
could then be more helpful to Kaleb when his is released and beginning his life again.
We have a number of friends here who would be supportive of Kaleb also- friends who
have known Kaleb since he was a child.

Thank you, Respectfully,

         JoAnne Powell
           Case 2:20-cr-00032-JCC Document 262-2 Filed 01/04/22 Page 5 of 7


To whom it may concern,

Subject: Request for clemency in the sentencing of Kaleb James Cole

My name is Kenneth W. Powell and I am the step grandfather of Kaleb James Cole. I have been
married to Kaleb's grandmother, JoAnne Powell for 47 years and have been Kaleb's grandfather all of
his life. As I recognize the court's time is precious, I will be as brief as possible.

I am requesting leniency for Kaleb Cole for five prime reasons:

           1.   He has already served almost two years in prison.
           2.   He has always had a strong work ethic.
           3.   He would like to get his life back on track and resume a normal life style.
           4.   He has a support system in place after his sentence is finished.
           5.   He has never committed a violent crime.

       1. Due to the Covid 19 mandates and the rescheduling of court cases, Kaleb has already been
          incarcerated for 19 or 20 months. This should be considered during the deliberation of his
          sentencing.

       2. During his youth, his parents and grandparents have instilled a strong work ethic in Kaleb.
          He always did his chores when younger and steadily worked after leaving home and going
          on his own. He has never asked for a handout and always paid his own way.

       3. Kaleb has said many times that he would just like to resume a normal everyday lifestyle
           when this episode of his life is over. He has a girlfriend, would like to get married, have
          children, and become a productive American citizen.

        4. Kaleb's father, mother, and we(the grandparents) have maintained a relationship with Kaleb
           while he was incarcerated. We have supported him and will continue to do so upon his
           release. We will support him mentally and financially so he can get started on his way to a
           normal responsible lifestyle.

        5. Kaleb has never committed an act of violence or physically harmed another human being.
           While he was incarcerated, he was a model prisoner and had no problems with other
           inmates or the prison authorities.

In light of the above reasons, I would like the court to consider a less harsh sentence for Kaleb James
Cole so he can once again become a useful productive law-abiding citizen.

Respectfully,


Kenneth W. Powell


.
         Case 2:20-cr-00032-JCC Document 262-2 Filed 01/04/22 Page 6 of 7



12/27/2021


Edie Moore
Olympia, WA


The Honorable Judge John C. Coughenour, United States District Judge,


        My name is Edie Moore and I became introduced to the defendant, Kaleb Cole, as he has been a

childhood and close personal friend of my longtime significant other. In this capacity, I have known the

defendant for about six years.


        I am writing this letter of support for Kaleb Cole because of the convictions that Kaleb has

received. I know that a jury has found Kaleb guilty and while I respect the court’s decision I think it is

necessary to paint a more complete picture of the type of person I have observed and experienced

Kaleb to be.


        In the time I have known Kaleb I have always observed and experienced him to be a proactive

and genuinely kind, helpful, generous, respectful and gentle person with women and all other people I

have seen him encounter in person. Any time I have ever needed assistance with moving homes,

financial help or working on projects around the house Kaleb has always offered to assist me. Also, in

the time I saw him spend with his past long-term girlfriend, he was always treated her with genuine

kindness, patience, respect and love. While Kaleb made very poor decisions with people he chose to

associate with, I feel he acted in a manner entirely out of his true character based on this, I feel

comfortable stating that it is my experience and observation that when Kaleb has genuine, positive,

considerate and supportive role models in his presence, Kaleb’s behavior is consistently appropriate,

polite, productive, punctual and considerate. When Kaleb has positive, supportive and loving role

models in his life I have observed Kaleb consistently present his best self.
           Case 2:20-cr-00032-JCC Document 262-2 Filed 01/04/22 Page 7 of 7



           Kaleb is someone whom throughout his early life has had trouble connecting with people and

establishing long-term relationships and friendships. However, I have seen consistent examples of him

improving in significant ways and sustaining that change on a personal level. I fully believe Kaleb has the

potential to refocus his energy into himself and to use that energy to develop himself into a productive,

appropriate and interactive member of society if given the appropriate tools, support and chance. I

know that this is the first time that Kaleb has been in any trouble with the law and he has expressed to

me that he now understands the consequences of any inappropriate actions of his, due to his

interaction with past associates, which have resulted in these charges. I strongly feel that if Kaleb were

given the privilege of a reasonable length of incarceration that he will choose to use his life once

released to better himself and maintain focus on himself. I genuinely believe that an unreasonable

length of incarceration would be damaging to the positive changes I have seen him make when he had

positive role models to spend time with, who believed in him and praised him when he made better

decisions. I feel that an unreasonable length of incarceration would only isolate him further. I feel it is

important to direct him back into the sphere of influence of the people in his life and his family who will

reinforce him to behave in a more positive manner and encourage him to make healthy life choices. I

feel that putting him in the sphere of influence of career criminals and repeat offenders for a prolonged

length of time will only negate any efforts Kaleb makes to be a positive and productive member of

society.


           I would like to thank you for taking the time to read this letter and taking this perspective into

your consideration. If you need any information verified you can reach me at the information provided

above.


Respectfully,


Edie Moore
